Case 2:21-cv-00303-RSM Document 7 Filed 03/19/21 Page 1 of 14

 

 

 

 

 

 

 

 

 

Pro Se 15 (Rev. 12/ 16) Comp: laint for Violation of Civil Right ts (Non—Prisoner) =
. ———__——.FILED
UNITED STATES DISTRICT COURT——=_| MAIL
for the . MAR 0
WESTERN _ District of WASHING-TON . 5 2021
AY SEATTLE
_____ Division este OSE OF wR
EPUTY
-“CV-3 M
21-cv -3037
-— to be filled in by the Clerk’s Office)
HENRY JAMES ) enn
Plaintiff(s) ‘iy
(Write the full name of each plaintiff who is filing this complaint. +t.
If the names of all the plaintiffs cannot fit in the space above, ) Jury Trial: (check one) Fives [No
please write “see attached” in the space and attach an additional ; )
page with the full list of names.) )
“Yo )
)
)
)
SGT. THOMAS, LC. DAV TDS BURDULTS, DIRECTOR SOHN RICROC E
Defendant(s) )
(Write the full name of each defendant who is being sued. If the )
names of all the defendants cannot fit in the space above, please )

write “see attached” in the space and attach an additional page
with the full list of names. Do not include addresses here.)

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Non-Prisoner Complaint)

 

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should not contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor, or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any .
other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed i in
forma pauperis.

 

 

 

Page | of 6
 

 

Case 2:21-cv-00303-RSM Document 7 Filed 03/19/21 Page 2 of 14

Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

L The Parties to This Complaint

A. The Plaintiff(s)

 

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.

Name
Address

County
Telephone Number
E-Mail Address

B.. The Defendant(s)

HENRY SAMES

tion LINDEN AVE. NL APT. 44

 

SEATTLE ss Wa, 9Y133
City State Zip Code
KING

 

— Rob HS -A10Q

-henry\ames 319 gmail.com ——____—

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person’s job or title (if known) and check whether you are bringing this complaint against
them in their individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. 1

Name
Job or Title 4/ known)
Address

County
Telephone Number
E-Mail Address (if known)

Defendant No. 2
Name
Job or Title (fknown)
Address

County
Telephone Number
E-Mail Address (ifknown)

EF. THeMAS
SERGEANT.
QoGt7_ 11T Ave, c.

DES Motnes Wa.
City State Zip Code

KING

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LTEUTENANT, TRAING, TATERNAL TAIVESTTGATIoNS

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City State

 

 

 

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Page 2 of 6
Case 2:21-cv-00303-RSM Document 7 Filed 03/19/21 Page 3 of 14

 

Pro Se 15 (Rev. 12/ 16) Complaint for Violation of Civil Rights (Non-Prisoner) - mccupsnennatensaasieeastats
Defendant No. 3 .
Name SOHN DICROCE

Job or Title (if known) ERECTOR /oPERAT-toNS CHUTE FP —___
Address 20317 ™ AVE, S.

DES MoENES . Wa, AB19¥

 

 

 

 

State Zip Code
County KKrNG
Telephone Number ({aob\ 257-bELA240
E-Mail Address (if known) re

 

[Z}individual capacity (Official capacity

Defendant No. 4
Name
Job or Tithe ff mown)
Address

 

 

 

 

City State Zip Code
County
Telephone Number
E-Mail Address (if known)

 

 

 

T] Individual capacity [] Official capacity
TT. Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” Under Bivens v, Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
constitutional rights.

A. Are you bringing suit against (check ail that apply):
[] Federal officials (a Bivens claim)

[Zr State or local officials (a § 1983 claim)

B, Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

RO OF EIGHTH
AMERNSMENT RIEHTS

C. Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
officials?

Page 3 of 6
Case 2:21-cv-00303-RSM Document 7. Filed.03/19/21. Page 4of14. 00

    
 
   
    
    
 
 
  
   
   
 

 

Pro Se 15 Rev. 12/16) Complaint for Violation of Ci Rights (iow Prisone)

 

of s state or or local law. if you are suing under Bivens, explain how each defendant acted u ms se old
federal law. Attach additional pages if needed. mene

SEE. 4 ges Hf
HI. Statement of Came |

State as briefly as posible the facts of your case. Describe how each defendant was personally i
alleged wrongful action, along with the dates and locations of all relevant events. You may W.
further details such as the names of other persons involved in the events giving rise to your cle
any cases or statutes. If more than one claim i is asserted, number each claim and write.a short
statement of cach on ina pee paragraph. Attach additional pages if needed.

 

A. | Where ‘i the events ova rise to your claim(s) occur?

SEE ArtacH | ‘

- What date and spproximate time dia the events giving # rise to your aig

Whiat are the facts unde: : a |
Was anyone else involved? |

SEE ATTACH!

 
Case 2:21-cv-00303-RSM Document 7 Filed 03/19/21 Page 5 of 14

 

FV. Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatment, if any, you required and did or did not receive.

SEE ATTAcH !
Vv. Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.

If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

SEE ATTACH !

Page 5 of 6
Case 2:21-cv-00303-RSM Document 7 Filed 03/19/21 Page 6 of 14

BASIS FOR JURISDICTION “D” CONTINUED FROM PAGE 4 OF 6 PAGE ONE

1. Sergeant F. Thomas is held liable under Section 1983 when he acted “under color of state/local
' law” by ordering himself and other Corrections Officers to excessively beat the plaintiff
throwing him to the floor in a choke-hold; while Defendant Thomas proceeded to put his knee
on plaintiff’s neck making it extremely hard for plaintiff to breath; ripping his clothes off
leaving him partial naked in a cold, camera videoed pre booking holding cell for over 12 hours;
feeling violated and sexual discriminated.

2. Sergeant F. Thomas is held liable under Section 1983 when he acted “under color of state/local
law” with Deliberate Indifference to plaintiff medical needs by falsely stating plaintiff refused
to have his vital signs taken by medical; Medic Lalvar stating they don’t treat injuries for
beating sustain by SCORE Correction Officers; and putting plaintiff in a Medical Housing Unit
video camera cell without allowing him to use the phone, take a shower nor come out for an
hour a day recreation.

3. Lieutenant David Burdulis is held liable under Section 1983 when he acted “under color of
state/local law” by initial ordering the plaintiff via phone conversation to submit his ‘formal
complaint’ to him to investigate; but after receiving plaintiff’s complaint, failed to investigate,
stalling the plaintiff for over 2 months, ignoring his phone calls, refusing to give the plaintiff
any information that an investigation was conducted; nor was the plaintiff given an
opportunity to respond to anything; and after informing Defendant Burdulis that plaintiff
wanted to go forward with this matter via phone conversation, Defendant Burdulis failed to
honor the requests of the initial ‘formal complaint,’ refusing to allow the plaintiff to inspect or
buy the requested public records, refusing the plaintiff to inspect or copy the video recording
of the beating and names of officers seen on video beating him and ripping plaintiff clothes
off; nor did he give the plaintiff a final decision, nor did he point the plaintiff in the right
direction to the get the requested public records.

4. State Law and SCORE Public Records regulation clearly states: HOW TO OBTAIN OR INSPECT
PUBLIC RECORDS HELD BY ‘SCORE’- If you wish to review or inspect any identified records held
by the South Correctional Entity - also know as SCORE (available under the Public Records Act,
RCW 42.56), you can make a Public Disclosure Request. Request will be accepted in person at
SCORE, by phone, by fax, or by email at ‘publicrecords@SCOREiail,org’. The first paragraph of
this ordinance/regulation states in part: “You do not have to use our form, but it shows the
kind of information we need to process your request”. Defendant Burdulis ignored paragraph 2
of the plaintiff's initial ‘formal complaint’ dated June 25, 2018, asking for the video footage of
the beating and sexual assault, nor did he give plaintiff the names of the officers involved;
thereby, prohibiting the plaintiff from proceeding further with the matter to King County
Superior Court. Washington State Law reads: “A requester who prevails against an agency that
has denied a record must be awarded their costs, including reasonable attorneys’ fees. RCW
42.56.505(4).

5. Director/Operations Chief John Di Croce is held liable under Section 1983 when he acted
“under color of state/local law” by ‘failing to act’ after first being informed about the incident
by Defendant Burdulis in 2018, per his statements dated August 3, 2020. Defendant Di Croce
was also informed in 2018 by SCORE Jail Human Resources-Lucinda Gibbon via email August
Case 2:21-cv-00303-RSM Document 7 Filed 03/19/21 Page 7 of 14

PAGE TWo

23, 2018. Defendant Di Croce is also aware of other Civil Rights violations against other
inmates before this initial complaint was filed and after this initial complaint was filed;
whereas, Defendant Dicroce was the overseer of a history of excessive force claims
deliberately done, in violation of pre-trial detainees Constitutional Rights.

Defendant Burdulis failure to adequately investigate and follow the procedures under the
public records act to ensure the plaintiff received the video footage and Correction Officers
names; Defendant Di Croce also had knowledge about the foregoing ‘formal complaint’, but
failed to act/oversee matters in superior hands, which contributed to the beating and sexual
assault by Defendant Thomas and other unknown Correction Officers, in violation of the
plaintiff’s Due Process Rights of the Fourteenth Amendment. SCORE Jail has use excessive
force and sexual abuse inmates before this complaint took place, and has also use excessive
force and violated inmates/pre-trial detainees Eighth Amendment rights after this complaint
took place; as such, SCORE Jail has a history of violating inmates Constitution Rights.

(tl. STATEMENT OF CLAIMS CONTINUED FROM PAGE 4 OF 6

CLAIM ONE
SERGEANT THOMAS AND OTHER UNKNOWN OFFICERS MALICIOUSLY AND SADISTICALLY APPLIED

EXCESSIVE FORCE AND WAS DELIBERATELY INDIFFERENT TO THE MEDICAL AND RECREATION NEEDS OF
THE PRE-TRIAL DETAINEE/PLAINTIFE, IN VIOLATION OF HIS EIGHTH AND FOURTEENTH AMENDMENT
RIGHTS TO BE FREE FROM CRUEL AND UNUSUAL PUNISHMENT

1.

“

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12,

13.

On June 18, 2018, between the hours of 3 p.m. and 4:36 p.m., plaintiff was arrested sober in his
right frame of mind without resistance by Bellevue PD Officer Miller.

Plaintiff was then taken to SCORE Jail at approximately 4:36 p.m.

Plaintiff was then put in a video camera cell handcuffed behind his back.

After sitting in the video camera cell for several hours handcuffed behind his back without being
booked, plaintiff was starting to get cold.

Plaintiff then went to the glass door and asked an unknown Officer to take the handcuffs off and
for a blanket to keep warm.

The unknown Officer then yelled to the plaintiff to get away from the door and shut up.

Plaintiff then requested to speak with a ranking officer.

Sergeant Thomas and 3 other unknown Corrections Officers then came into plaintiff’s video
camera cell.

Sgt. Thomas then placed the plaintiff in a choke-hold, slamming him to the floor face first.

Sgt. Thomas then put his knee on the plaintiff’s neck while 2 Officers punched the plaintiff in the
ribs and back. ,

Another unknown Officer then started twisting plaintiff’s leg around and around.

Sgt. Thomas proceeded to keep his knee on the plaintiff’s neck while the other 3 Officers ripped
off the plaintiff's clothes leaving him partially naked.

All 4 Corrections Officers then left the video camera cell one by one, while plaintiff lied on the
floor gasping for air.

14. Around 12 a.m. of 06/19/2018, plaintiff was taken to be seen by medical.
Case 2:21-cv-00303-RSM Document 7 Filed 03/19/21 Page 8 of 14

PAGE THREE

15. The medic was a black male with an African nation accent with the name tag entitled |
Lalvar.

16. Plaintiff asked Medic Lalvar to record the injuries he sustained in the Correction Officers
beating.

17. Medic Lalvar informed the plaintiff that we are not allowed to document injuries of
beatings done here at SCORE Jail by our Officers.

18. Officer F. Thomas, (who’s believed to be the same Sergeant Thomas who choked and
beat the plaintiff) wrote in the JAIL EVENTS SUMMARY REPORT’ plaintiff refused to get
his vital signs taken by medical.

19. Plaintiff states that he did not refuse medical treatment , nor did he sign a refusal to be
treated.

20. Plaintiff was then booked; while being booked plaintiff asked the female working in
booking early that morning was the camera rolling when the Officers were beating him;
the white female booking officer informed the plaintiff yes it was video recording the
beating.

21. Plaintiff was then involuntarily taken to a Medical/Mental Health Housing Unit. Plaintiff
did not request to be taken there nor did he sign any forms agreeing to be taken to a
video camera Medical Housing Unit cell.

22. While housed in this Medical Housing Unit, plaintiff was not allowed to use the phone,
shower nor come out for recreation. :

23. Plaintiff layed in his cell with neck, back and wrist pain without medical treatment.

24. On June 20, 2018, around 7:57 p.m., plaintiff was released from SCORE Jail per Court
Order.

25. The next morning, June 21, 2018, around 11:07 a.m., plaintiff went to UW Medicine
. NorthWest Hospital & Medical Center to be treated for his injuries sustained at SCORE
Jail.

26. Plaintiff clinical findings were numbness in the bilateral arms, back and right lateral
Jower leg pain; displaced vertically-oriented fracture through the tuft of the second
finger distal phalanx with associated soft tissue swelling. ~

LAIM TWO
INTERNAL INVESTIGATIONS LIEUTENANT DAVID BURDULIS DISPLAYED ‘DELIBERATE
INDIFFERENCE’ BY PERMITTING THE INCORRECT BEHAVIOR, NOT DISCOURAGING, PUNISHING,
OR STOPPING IT; LT. BURDULIS FURTHER COMMITTED ‘DELIBERATE INDIFFERENCE’ BY NOT
ANSWERING THE PLAINTIFF’S COMPLAINT, REFUSING TO GIVE THE PLAINTIFF THE VIDEO
FOOTAGE OF THE OFFICERS BEATING NOR THE NAMES OF THE OFFICERS INVOLVED

1. Onor about June 25, 2018, plaintiff spoke with Lt. Burdulis via phone conversation concerning
filing a complaint about the Officers beating and obtaining the video footage and Officers names
that were involved.
Case 2:21-cv-00303-RSM Document 7 Filed 03/19/21 Page 9 of 14

PAGE FourR

Lt. Burdulis informed the plaintiff to do a handwritten complaint and send it to SCORE Internal
Affairs; once he received the complaint he would investigate and send me the requested video
footage and Officers names; during this time Lt. Burdulis was overseer of ‘Internal Investigations’.
Plaintiff typed a formal Excessive Force Complaint informing Lt. Burdulis of what happen, also
requesting in his relief emotional distress, punitive and compensatory damages; the video and
audio recording of plaintiff being beaten and choked; and the full names of all of the officers

_ involved in the beating; plaintiff mailed the complaint to SCORE Jail Internal Affairs on or about

10.

11.

12.

13.

June 26, 2018.

During the month of July 2018, plaintiff called Lt. Burdulis leaving him voicemails checking the
status of the complaint and requested evidence, but received no response.

During the month of August 2018, plaintiff continued trying to contact tt. Burdulis concerning
the status of his complaint and relief, but received no answer from defendant Burdulis.

On August 23, 2018, at 2:39 p.m., plaintiff email: info@scorejail.org inquiring about the status of
his 06/18/2018 complaint and relief.

On August 23, 2018, at 2:44 p.m., plaintiff also email: humanresources@scoreiail.org inquiring
about the status of his 6/18/2018 complaint and relief.

On August 23, 2018, at 3:07 p.m., plaintiff received a response email from defendant Burdulis
stating, “Mr. James, | attempted to get back to regarding your allegation in June. | will call you on
Monday at 10 a.m. if that works.

On August 23, 2018, at 3:34 p.m., plaintiff responded to defendant Burdulis' email saying, “Yes, |
will be available at that time.”

On August 23, 2018, at 5:10 p.m., Human Resources Director-Lucinda Gibbon responded to
plaintiff's email stating, “Thank you for your email. | have forwarded your information to
Lieutenant Burdulis or Operations Director DiCroce to answer you questions.”

On August 24, 2018, at 7:44 a.m., plaintiff received an email response from the Supervisor
Admin. Support and Records-Mary Roy stating, “Thank you for your inquiry! | have forwarded
your request on to our administrative staff to check on.”

On August 27, 2018, plaintiff spoke with defendant Burdulis concerning the status of the
investigation and the requested video footage and Officers names.

Defendant Burdulis denied the incident took place; plaintiff then asked defendant Burdulis for
the video footage of the beating and Officers names; defendant Burdulis stated, “it’s too late to
get the video footage and names”, and hung the phone up on the plaintiff.

14. On September 18, 2018, at 3:27 p.m., plaintiff emailed: publicrecords@scorejail.ore

15.

16.

informing them that defendant Burdulis was not helpful in giving me the requested
public records of the video footage, nor the Officers names.

On September 18, 2018, at 3:45 p.m., plaintiff received a response via email from the
public records department informing the plaintiff of the new online records request
portal.

On September 20, 2018, at 11;22 a.m., plaintiff received an email from
scorejail@mycusthelp.net informing the plaintiff that he was now registered with SCORE
Jail Public Records Center

17. On September 20, 2018, at 11:31 a.m., plaintiff received a response from

scorejail@mycusthelp.net stating, “Thank you for your interest in public records of
Case 2:21-cv-00303-RSM Document 7 Filed 03/19/21 Page 10 of 14

PAGE Frve

SCORE Jail. Your request has been received and is being processed in accordance with
the State of Washington Public Records Act, Chapter 42.56 RCW. Your request was given
the reference number ROO0009-092018 for tracking purposes.” “Your request will be
forwarded to the relevant department to locate the information you seek and to
determine the volume and any costs associated with satisfying your request. .... ”

18. On September 21, 2018, at 7:29 a.m., plaintiff received another response from
scorejail@mycusthelp.net stating, “Please note the information requested is personal
and confidential and is subject to exemptions as per RCW 42.56.070(1) and RCW
70.48.100(2). In order to release the records to you, we will need a SCORE authorization
for release form signed and returned to SCORE.

19. Plaintiff then printed out the REQUEST FOR PUBLIC RECORDS release form and mailed it
back to SCORE Jail public records office 09/21/2018.

20. After waiting almost 22 months for the requested public records, the plaintiff contacted
SCORE public records again concerning the status of his request. :

21..On July 14, 2020, plaintiff received a response from Communications & Contracts
Manager-Marilynn Montenegro stating, “On September 27, 2018, we sent you a follow-up letter
indicating your need to submit the signed release, and if we did not hear from you by October
11, 2018, we would close the request. We closed the request due to your non-response.”

22. Plaintiff went back and checked his emails for September 27, 2018, and could not find the letter
that was sent, nor was any follow-up letter ever sent via mail or email.

CLAIM THREE

DIRECTOR AND OPERATIONS CHIEF JOHN DI CROCE DISPLAYED DELIBERATE INDIFFERENCE BY.
PERMITTING THE INCORRECT BEHAVIOR BY NOT DISCOURAGING, PUNISHING, OR STOPPING IT;
DEFENDANT DI CROCE FURTHER COMMITTED DELIBERATE INDIFFERENCE BY HAVING KNOWLEDGE OF
THE 2018 INCIDENT BUT FAILED TO ASSIST THE PLAINTIFF IN OBTAINING THE REQUESTED VIDEO
FOOTAGE AND OFFICERS NAMES

1. On August 23, 2018, at 5:10 p.m Human Resources Director-Lucinda Gibbon responded
via email to plaintiff inquiry of the status of his 06/18/2018 complaint stating, “I have
forwarded your information to . . . . Operations Di Crace ta answer your questions.

2. Plaintiff states that to his knowledge this was the first time defendant Di Croce was
notified about the excessive force claim.

3. Defendant Di Croce also admitted he had knowledge of the 06/18/2018 incident in his
letter to plaintiff dated August 3, 2020, when he stated, “I have been provided a copy
of your formal complaint for excessive force, which you allege based on events on or

~ about June 18, 2018. It appears to be a re-submission of allegations that you
presented to SCORE in 2018, and which Lieutenant Burdulis addressed with you by
phone at that time. In reviewing your complaint and documentation provided by
Lieutenant Burdulis, | find that, consistent with Lieutenant Burdulis’ observations and
discussion with you in 2018, your allegation of excessive force to he UNFOUNDED. The
Case 2:21-cv-00303-RSM Document 7 Filed 03/19/21 Page 11 of 14
PAGE Sx x

finding is supported by the following jail log that was entered on June 18, 2018 at 5:23
p.m. by Sergeant Thomas.”

Plaintiff states that Director defendant Di Croce had knowledge of plaintiff's complaint
since June 2018, after receiving it via U.S. Mail Internal Affairs.

. Defendant DiCroce's own admissions in his August 3, 2018 response stated, “In
reviewing your complaint and documentation provided by Lieutenant Burduils, ‘i find
that,’ consistent with Lieutenant Burdulis observations and discussion with you in
2018, your allegation of excessive force to be UNFOUNDED.”; at 5:23 p.m. June 18,
2018; written by Sergeant Thomas. In addition, defendant Di Croce provided other
information by Lieutenant Burdulis.
Case 2:21-cv-00303-RSM Document 7 Filed 03/19/21 Page 12 of 14

IV. INJURIES CONTINUED FROM PAGE 5 OF 6

1.

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On June 21, 2018, at 11:07 a.m., UW Medicine NorthWest Hospital & Medical
Center finalized the first injury stating, “Numbness and pain in the bilateral arms,
back and right lateral lower leg pain; minimal displaced vertically-oriented fracture
through the tuft of the second finger distal phalanx with associated soft tissue
swelling;”

June 21, 2018, at 11:25 a.m., UW Medicine NorthWest Hospital & Medical finalized
the second injury stating, “Uncovertebral hypertrophy produces mild bilateral
foraminal narrowing; Posterior disc osteophyte complex indents the ventral CSF
space, slightly asymmetric to the left; Disc osteophyte complex produces mild
cord contouring; CSF signal is effaced; Post disc osteophyte complex minimally
indents the ventral CSF space; There is no cord compression; Uncovertebral
hypertrophy continues to produce mild left foraminal narrowing;”

June 21, 2018, at 11:50 a.m., UW Medical NorthWest Hospital & Medical finalized
the third injury stating, “Multilevel cervical spondylosis most pronounced at
C4-C5 where there is mild central canal stenosis with ventral cord contouring.”
Plaintiff also received emotional distress injuries from the beating.

Plaintiff further states that it took 9 months for the numbness and pain to go away
in both wrists, after defendant Thomas slammed the plaintiff to the floor while he
was handcuffed behind his back.

V. RELIEF CONTINUED FROM PAGE 5 OF 6

1.

Plaintiff request compensatory damages in the amount of $10,000.00 to
compensate plaintiff for his injuries and for the unlawful conduct committed by
Sgt.Thomas and the other officers; as such, the injuries requested in paragraph 4
of this Relief, which so far amounts to $3300.00;

Plaintiff request emotional distress damages in the amount of $10,000.00 for the
embarrassment and humiliation and body pain they caused the plaintiff in his
arms and legs and both wrists;

Plaintiff request punitive damages in the amount of $75,000.00 due to the fact the
officers intentionally and deliberately beat the plaintiff and intentionally and
deliberately withheld the video footage and Officers names that were involved;
Plaintiff request $100.00 per day for each day that the requester/plaintiff was
denied the right to inspect or copy video footage and Officers names that were
involved; Plaintiff states that he has been denied the right to inspect or copy the
requested documents for over 33 months.
Case 2:21-cv-00303-RSM Document 7 Filed 03/19/21 -Page 13 of 14

Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

 

VI. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the

requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result

in the dismissal of my case.

Date of signing: March 3, 20a }
J

 

Signature of Plaintiff ‘amu Qaaner
Printed Name of Plaintiff

B. For Attorneys

Date of signing:

 

Signature of Attorney

HENRY SAMES

 

Printed Name of Attorney

 

Bar Number

 

Name of Law Firm

 

Address

 

 

City |

Telephone Number

State

Zip Code

 

E-mail Address

 

Page 6 of 6
O3-RSM ,Document 7 Filed 03/19/21 Page 14 of 14

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